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               IN THE UNITED STATES DISTRICT COURT
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              FOR THE NORTHERN DISTRICT OF GEORGIA                                 EN , Clerk
                              ATLANTA DIVISION                                     Deputy ~~erk



RICHARD V. HARRISON,                              }
             Plain tiff,                          }
                                                  }CAVIL ACTION
vs.                                               }FILE NO.

INTERNAT IONAL B USINESS
                                                  }      1 :06-PV-2549
MACHI NES (IBM) ; STEPHANIE                       }
PARKE, Syste ms Director of Finance ;
ANDY VODOPIA,CFO; DEBORAH                         }
                                                                              'Q   EC
BURACK, Human Reso urces Partner;                 }
HARRY GORNICK, ASR Manager ;                      }
BETTY JOHNSON, Case Ma n ager                     }
Nu rse,                                           }
                Defendants.                       }


                                   COM PLAI NT

      COMES NOW, Richard . V . Harrison, and files this Complaint against

Defendants, and shows the following :

                                  JURISDICTION

                                            1.

      This action is brought pursuant Section 701(b) of the Civil Rights Act of

1964; 42 U.S .C . § 2000 et seq., as amended in 1991, 42 U .S.C. § 1981A (Title

VII), and 28 U.S .C . §§ 1331, 1343, and 1367 .
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                                           2.

      The Court has jurisdiction over claims brought under state law in that these

claims arise under the same nucleus of operative facts which form the basis of the

Federal claims and are pendent thereto .

                                       VENUE

                                           3.

      A substantial part of the events or omissions giving rise to the claim in this

matter occurred in this judicial district in Atlanta, Georgia, one or more defendants

are located in this judicial district, and venue is thus proper in the Atlanta Division

of the United States District Court for the Northern District of Georgia pursuant to

28 U.S.C §1391 .

                                      PARTIES

                                           4.

      Plaintiff, Richard V . Harrison, is a Jamaican-Black male, who at all times

relevant hereto was an employee at IBM .

                                           5.

      At all times relevant to this Complaint, Defendant Stephanie Parke,

Caucasian female, was employed by IBM as Director of Systems Finance . Ms .

Parke may be served as provided by law .




                                           2
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                                        6.

      At all times relevant to this Complaint, Defendant, Andy Vodopia,

Caucasian male, was employed by IBM as the Chief Financial Officer for Open

Infrastructure Offerings . Mr. Vodopia may be served as provided by law .

                                        7.

      At all times relevant to this Complaint, Defendant, Deborah Burack,

Caucasian female , was employed by IBM as Human Resources Partner .           Ms.

Burack may be served as provided by law .

                                        8.

      At all times relevant to this Complaint, Defendant, Harry Gornick,

Caucasian male, was employed by IBM as Manager of Accounts Service

Representative. Mr. Gornick may be served as provided by law .

                                        9.

      At all times relevant to this Complaint, Defendant; Betty Johnson, Caucasian

female was employed by IBM as Case Manager Nurse . Ms. Johnson may be

served as provided by law .

                                        10.

      IBM is a New York Corporation, authorized to do business in Georgia and

may be served via its authorized agent for service of process, C T Corporation,

1201 Peachtree Street, NE, Atlanta, Georgia 30361 .


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                     CONDITIONS PRECEDENT TO SUIT

                                          11 .

       Plaintiff time ly filed a charge of racial discrimination with the EEOC,

designated as Charge Nos . 410-2006-01 197 and 110-200b-00501, and timely filed

this Complaint after issuance of a Right to Sue letter from the EEOC, which is

attached hereto .

                           FACTUAL ALLEGATIONS

                                          12 .

       Plaintiff was hired by IBM on June 9, 1997, as a Professional Accountant .

                                          13 .

       In September 2000, Plaintiff was promoted to the position of Financial

Analyst .

                                          14 .

       In November 2004, Plaintiff worked in the division of IBM Global Services

-- Strategic Outsourcing, as a Financial Analyst .

                                          15 .

       Plaintiff provided financial analyst support for strategic outsourcing

commercial accounts .

                                          16.

       At this time, Donna Pressnall was Plaintiff s manager .


                                           4


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                                               17.

         During this period, Ms. Pressnall asked Plaintiff to attest to or sign an

attestation letter concerning the financial accuracy of certain strategic outsourcing

commercial accounts .

                                               18 .

         Plaintiff declined to attest to the financial accuracy of the accounts for

various reasons :

         a.       Plaintiff did not have full disclosure of the financ ial accuracy ;

         b . Plaintiff was not legally required to make such an attestation, and

         c . Not all Financial Analysts were attesting to the accounts .

                                                19 .

         Consequently, on or about January 20, 2005, Ms . Pressnall gave Plaintiff a

job performance rating of 2 .

                                               20 .

         Plaintiff should have received a 2+ rating .

                                               21 .

         In addition, in January 2005, Ms. Pressnall and her superior, Stacie Herman,

put negative and disparaging comments in Plaintiffs personnel file, that were

false.




                                                 5
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                                           22.

      Ms . Herman's superior, Rosemary Reutter, directed Ms . Pressnall to remove

the negative and disparaging remarks from Plaintiffs record .

                                           23 .

       However, Ms . Reutter did not direct Ms . Pressnall to change the 2 rating.

                                           24.

       Plaintiff believed Ms . Pressnall and Ms . Herman's negative treatment of him

was of a harassing nature and in retaliation of him not attesting to or signing an

attestation letter concerning the financial accuracy of the commercial accounts .

                                           25 .

       Consequently, Plaintiff began searching for another position within the IBM

organization .

                                           26 .

       In 2003 Paul Hendricks, black male, left the emp l oyment of IBM .

                                           27 .

       Mr . Hendricks was employed as the Director of Open Infrastructure Offering

(OIO). ,



        'Open Infrastructure Offerings (010) is an IBM organization where customers are
offered huge discounts on "bundled" deals, based on their long-term commitment to purchase
hardware, services, etc ., over an extended period of time .



                                            6
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                                            28 .

      Consequently, in 2003, Steve Odom, Caucasian male, replaced Mr .

Hendricks as the new 010 Director .

                                            29 .

       Around the same time, IBM repositioned Defendant, Andy Vodopia,

Caucasian male, to the position of Chief Finance Officer (CFO).

                                            30 .

       Prior to his repositioning, Mr . Vodopia had been employed with IBM for

approximately 228 years .

                                             31 .

       In addition, Judson Ficklen, Caucasian male, was repositioned as the

Business Unit Executive (BUE) .

                                             32.

       Mr. Vodopia, Mr . Odom and Mr . Ficklen were placed in their respective

positions to fix, reportedly, the "control prob lems" Mr . Hendricks could not fix .2

                                             33 .

       On or around 2003 or 2004, Mr . Vodopia hired Brian Fleck and Jay Moore,

Caucasian males, as 010 Financial Analyst .



        'The "control problems" refer to the problems that were identified in the 2003 audit,
which will be identified and discussed later in the instant Complaint .


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                                         34.

      Mr. Fleck and Mr . Moore worked for Mr . Vodopia six (6) months each and

quit, reportedly, because they could not handle the "control problems" that existed

in 010.

                                         35 .

      Mr. Fleck and Mr. Moore, reportedly, could not deal with Mr . Vodopia .

                                         36 .

      On February 4, 2005, Mr . Vodopia interviewed Plaintiff for the 010

Financial Analyst position, specifically, to work on the Bank of America (BOA)

Account.3

                                         37.

      On February 10, 2005, Plaintiff informed Mr . Vodopia he would accept the

position.

                                         38.

      This was the first time Plaintiff held the Financial Analyst position in 010

and worked on the BOA Account.




      3The BOA Account was obtained by IBM in December 2004 .



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                                               39.

       The Aggregation Pricing model for the BOA Account was not ready, even

though it was required in order for Plaintiff to efficiently work on the BOA

Account.4

                                               40 .

       On February 15, 2005, Plaintiff started physically working for Mr . Vodopia,

although Plaintiffs formal hire date was February 16, 2005 .

                                               41 .

       Around the same time, Mr . Vodopia hired Maryn Schwebel, Caucasian

female, as an 010 Financial Analyst .

                                               42.

       At the time of her hire, Ms . Schwebel worked mobile from New York .

                                               43 .

       Ms . Schwebel was hired as the Department Head and Plaintiffs team leader .

                                               44.

       Immediately, Mr . Vodopia began to make demands of Plaintiff of a

disparaging nature .


        "The Aggregation Pricing Model is a pricing tool that serves as the Plan of Record (POR)
and ties into both the Account Service Representative model (ASR) and IBM Global Financing
Pricing Tool (IGF) . The function of the ASR is to manage a contract in terms of invoicing,
reconciliation, and tracking of orders, letters, etc . The IGF pricing model is the plan of record
for IGF


                                                9
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                                            45 .

          For example, Mr . Vodopia instructed Plaintiff to leave his blinds and door

opens .

                                            46.

          Mr . Vodopia required that Plaintiff log in a message of his whereabouts, on

Sametime, each time he left his desk.'

                                            47 .

          During his 9 years of employment with IBM, Defendant had never required

that Plaintiffs log in a message each time he left his desk .

                                            48.

          Mr. Vodopia did not require that Ms . Schwebel keep her door and blinds

open.

                                            49.

          Nor did Mr. Vodopia require that Ms . Schwebel log in a message of her

whereabouts, on Sametime, each time she left her desk .

                                            50 .

          Mr. Vodopia did not allow Plaintiff to write his Personal Business

Commitment (PBC) goals for 2005 .6


       SSametime is IBM's instant messaging tool that allows one to see if another is logged
onto their computer .



                                             10
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                                                51 .

       Instead, Mr . Vodopia wrote Plaintiff's 2005 goals for him and submitted

them to Plaintiff.

                                                52.

       On April 12, 2005, Mr . Vodopia wrote Plaintiff's 2005 goals to correspond

to the "control prob lems" that were identified from the audits during Mr .

Hendrick's tenure .

                                                53 .

       It is Plaintiffs belief that Mr. Vodopia tailored his (Plaintiff's) goals to the

"control problems" identified in the 2003 audit because he knew Plaintiff could not

reasonably attain the goals .

                                                54.

       Plaintiff further believes Mr. Vodopia tailored the goals to make him

(Plaintiff) the scapegoat for the ongoing-unattainable "control problems" with 010

transactions .

                                                55 .

       On or about March 25, 2005, Plaintiff contacted Defendant, Debbie Burack,

HR Partner, and notified her that Mr . Vodopia was mistreating and harassing him .


        'At the beginning of each year, each employee is required to write his PBC goals At the
beginning of the following year, the employee is required to write his attainment of the goals that
he set in his PBC.


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                                        56.

      On or about March 25, 2005, Plaintiff requested a separation package due to

Mr . Vodopia's disparaging treatment and harassment .

                                        57.

      Ms. Burack advised Plaintiff, via voicemail, that he had to talk to Mr .

Vodopia's supervisor, Defendant, Stephanie Parke .

                                        58 .

      On or about March 25, 2005, Ms . Burack informed Plaintiff that IBM could

not offer him a separation package .

                                        59.

      On March 27, 2005, Plaintiff called Ms . Parke, during which Plaintiff

discussed Mr. Vodopia's harassment and disparaging treatment of him.

                                        60.

      After Plaintiff and Ms . Parke talked for 3 hours, she informed Plaintiff that

she would get back to him concerning his complaints .

                                        61 .

      Ms. Parke never got back with Plaintiff concerning his complaints.




                                        12
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                                          62.

      On March 28, 2005, Mr . Vodopia called client into his office, obviously

agitated, and told Plaintiff that that was the first time he was ever "escalated to his

superior."

                                          63 .

      During their discussion, Mr . Vodopia expressed the following to Plaintiff :

      a. That Plaintiffs previous manager was right, that Plaintiff was high

                 maintenance ;

      b. That Plaintiff would never get another position within IBM ;

      c . Told Plaintiff to go back to his former manager, Donna Pressnall ;

      d. Told Plaintiff he is free to look at another job in IBM ;

       e. That Plaintiff could not leave until he (Vodopia) found a replacement .

                                          64 .

      Pursuant to IBM's policy, Mr . Vodopia was required to post Plaintiffs

position.

                                          65 .

      Mr . Vodopia did not post Plaintiff's job and Plaintiff was forced to continue

to work under Mr . Vodopia's harsh treatment .




                                          13


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                                             66.

       On April 27, 2005, during a workshop, Mr . Vodopia told 101 project

executives that Plaintiff is "all yours ."

                                             67 .

       Consequently, the OIO project executives began delegating work to

Plaintiff.

                                             68 .

       Because of the Defendants' actions, Plaintiff began developing the following

medical problems sometime in May 2005 :

       a. Insomnia and

       b. Anxiety attacks .

                                             69.

       On May 2, 2005, Mr . Vodopia assigned an additional account to Plaintiff,

UPMC (352M TCV)

                                             70.

       The UPMC Account was the second largest account in 010 .

                                             71 .

       BOA was the largest Account in 010.




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                                          72.

       On May 17, 2005, Plaintiff expressed interest to Defendant, Mr . Gornick,

about working in his department as an ASR .

                                          73 .

       In the meanwhile, on May 19, 2005, Plaintiff emailed Ms . Parke to report

that Mr. Vodopia's harassment and hostility towards him escalated and was

retaliatory in nature .

                                          74.

       Among the complaints Plaintiff lodged are the following :

       a. Mr. Vodopia required that Plaintiff keep his door and blinds open, but

              did not require that his co-workers do the same ;

       b. Mr. Vodopia required that Plaintiff log the number of times he met

              with customers, but did not require that his co-workers do the same ;

       c. Mr. Vodopia permitted Plaintiffs co-workers to work from home and

              mobile, but denied him the same flexibility ;

       d . Mr . Vodopia assigned Plaintiff the responsibility of fixing the "control

              problems" with 010 maintenance, with knowledge that it was his and

              the management team's responsibility to solution the problems .




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                                               75 .

       As a result of Plaintiffs complaints identified above, Ms . Parke initiated an

open door investigation .

                                               76 .

       The complainant has the right to request which investigative process he

wishes to be utilized .

                                               77.

       Ms. Parke failed to give Plaintiff a choice and chose the "open door

investigation" on her own .

                                               78.

       The "open door investigation" does not allow for the employee to rebut the

findings .

                                               79.

       The open door investigation Ms . Parke began lasted from June 2005 to

September 2005 .

                                               80 .

       The process normally takes 30 to 60 days .




       'IBM had three avenues through which a complainant could lodge a grievance ; the "open
door investigation", "panel review process" and "speak up ." In this instance, Ms . Parke initiated
the open door process.


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                                         81 .

      Department of Human Resources assigned Plaintiffs complaint to Perry

Rhue, Black male Manager within IBM .Com, who conducted an investigation .

                                         82 .

      During his investigation, Mr. Rhue took Mr . Vodopia's responses to

Plaintiff s complaints and submitted them to HR .

                                         83 .

      Mr. Rhue, at the direction of HR, did not permit Plaintiff to review Mr .

Vodopia's responses before he reached his conclusion .

                                         84 .

      Because Plaintiffs medical conditions continued, he began treatment with

Dr. Miriam George on June 15, 2005 .

                                         85 .

      As a result, Dr. George put Plaintiff on a 3 day sick leave .

                                         86.

      At the end of the open door investigation in September 2005, Mr . Vodopia

started lashing out at Plaintiff, by dumping the following 010 contracts on him,

with foreknowledge they were troubled accounts :

      a. Automatic Data Processing, Inc . (ADP) ;

      b . Bank of America Extension Negotiations ;


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       c. IGS Audit .

                                          87.

       On June 10, 2005, while Mr . Rhue was investigating Plaintiffs complaint

Mr . Gornick posted one (1) ASR position .

                                          88 .

       The preference of the ASR in the posting was stated as follows : "Although

the position can be located anywhere, the preference for this location is Atlanta or

Dallas . "

                                          89.

       Consequently, on June 14, 2005, Mr . Gornick informed Plaintiff, through

instant message, that he needed to apply for the position by June 23, 2005 .

                                          90.

       Plaintiff applied for the position on June 23, 2005 .

                                          91 .

       On June 23, 2005, ABM removed the ASR position from the posting .

                                          92 .

       On June 24, 2005, an IBM employee, Steven Harper, informed Plaintiff that

Norbert Cardenas, Caucasian Hispanic, was hired for the ASR position .




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                                            93 .

       Shortly thereafter, on June 27, 2005, IBM conducted an audit of 010

organization .

                                            94 .

       The audit lasted through July 27, 2005 .

                                            95 .

       The audit was a follow-up to the October 2003 audit that was conducted

during Mr . Hendrick's tenure .

                                            96 .

       The 2005 audit was passed .

                                            97 .

       However, the 2005 results did not reflect the true posture of the 010

"control problems" and, in actually, should not have passed .

                                            98 .

       Plaintiff was excluded from the 2005 audit meetings .

                                            99 .

       However, Ms . Schwebel was invited to and attended every audit meeting .

                                            100 .

       In fact, Mr . Vodopia customarily treated Ms . Schwebel more favorably in

comparison to his treatment of Plaintiff.


                                             19



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                                           101 .

         For example, Mr . Vodopia excluded Plaintiff from meetings concerning the

BOA Account during the 2005 audit, although he invited Ms . Schwebel to the

meetings .

                                           102.

         In addition, Mr. Vodopia provided training for Ms . Schwebel on new web

application, but did not train or provide training to Plaintiff .

                                           103 .

         Although Mr . Gornick had already filled the ASR position, he interviewed

Plaintiff for the position on July 28, 2005, one day after the conclusion of the 2005

audit.

                                           104.

         Thereafter, on August 16, 2005, Mr. Gornick informed Plaintiff that he

received 86 applications for the ASR position and that Plaintiff was one of six (6)

candidates chosen to be interviewed .

                                           105 .

         Mr. Gornick further confirmed that he had filled the position with a

Caucasian-Hispanic, male .




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                                             1 06 .

       At the same time, Mr . Gornick informed Plaintiff he filled two (2) additional

positions with two (2) Caucasian females, Nancy Reno and Roberta Coughlin .

                                             107 .

       At that juncture, Plaintiff complained to Mr . Gornick that he was not made

aware that the 2 additional positions existed.

                                             108.

       Plaintiff further complained to Mr. Gornick that the 2 additional positions

were never posted prior to the time he complained on August 16, 2005 .

                                             109.

       Thereafter, on August 19, 2005, Mr . Gornick reposted the ASR position that

was filled by Mr . Cardenas and, for the first time, posted the two additional

positions .'

                                             110.

       At this time, Mr. Gornick and HR changed the job preference of the ASR

position as follows :

       a.      From "Although the position can be located anywhere, the preference

for this location is Atlanta or Dallas " To Although the position can be located



       'The three (3) ASR positions as described above consisted of one posting, with the same
reference number .


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anywhere, the preference for this location is Atlanta or Dallas, Prefer candidate

with Customer Fulfillment (Customer Support Operations) with experience with

emphasis on accounts receivable .}

       b. The # of positions opened" from 1 to 3, and

       c. The "Apply by Date " changed from 6/23/05 to 9/16/05 ;

                                              111 .

       On August 23, ?005, in welcoming Ms . Reno and Ms . Coughlin to the 2

additional positions, Mr. Gornick used the very verbiage that he used in the altered

posting on August 19, 2005 .

                                              112 .

       On September 1 9, 2005, Mr. Rhue reviewed his findings of the open door

investigation, with Plaintiff, via telephone conference .9

                                              113 .

       On the same day, Plaintiff asked for a summary of the investigation

conducted by Mr. Rhue .

                                              114 .

              On September 27, 2005, Gabriel Graciosi, Vice President of HR,

mailed Plaintiff, in a separate package, his concurrence of Mr . Rhue's findings .


       'After the assigned investigator completes their investigation, it is reviewed by a Senior
Executive . The Senior Executive concurs or dissents to the investigator's findings, which
completes the investigative process


                                               22
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                                         115 .

         On September 28, 2005, Plaintiff received a summary of Mr. Rhue's

investigation .

                                         116.

         The results of the open door investigation weighed in favor of Defendants

and did not adequately represent the truth .

                                         117.

         Because of Defendants' actions or inactions, Plaintiffs medical condition

exacerbated and he sought further treatment with Dr . George on November 8,

2005 .

                                          118 .

         As a result, Dr . George recommended Plaintiff take a short term disability

for two (2) weeks .

                                          119 .

         Plaintiff went on short term disability from November 8, 2005 to November

27, 2005 .

                                          120.

         On November 8, 2005, after his visit with Dr . George, Plaintiff filed EEOC

Discrimination Charges against Defendants .




                                           23
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                                          121 .

         IBM previously instructed Plaintiff that if he had to stay outt beyond

November 28, 2005, he would need to see a specialist or psychiatrist .

                                          122 .

         Plaintiff realizing that he would need additional time to address his medical

and psychological issues, conferred with a psychiatrist, Dr . R . Ahmad .

                                          123 .

         Based on Dr. Ahmad's evaluation of Plaintiff, she recommended that IBM

continue Plaintiff's short term disability from November 28, 2005 to February 27,

2006 .

                                          124 .

         Because plaintiff' s medical and psychological position had not impro ved,

Dr. Ahmad, again, recommended Plaintiff s short term disability be extended .

                                          125 .

         Plaintiff's disability was extended, again, from January 14, 2006 to February

26, 2006 .

                                          126 .

         Because the distance from Plaintiff's home and Dr . Ahmad's office created a

hardship, Plaintiff conferred with Dr . Edward Ajayi, whose office was closer to

Plaintiff's home .


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                                            127 .

      Upon Plaintiffs second visit with Dr . Ajayi, he concluded that Plaintiff's

condition had not improved .

                                            1 L8.

      Consequently, Dr. Ajayi recommended that Plaintiffs short term disability

be extended from February 27, 2006 to March 26, 2006 .

                                            129 .

      On February 28, 2006, Mr. Vodopia met with Wendy Wang, IBM's staff

attorney and Michelle Ames, HR Partner, to discuss backfilling of Plaintiffs

position, while he was on short term disability .

                                            130.

      Consequently, on March 6, 2006, Mr . Vodopia interviewed Jeffrey Baldwin,

Caucasian male for Plaintiff s position .

                                            131 .

      At this time, Mr . Baldwin was a supplemental non-regular employee with

IBM and was not able to fill Plaintiffs position, because he had not graduated

from college .10




       10 The company's complementary or supplemental non-regular workforce includes
vanous workers hired under temporary, part-time and limited-term employment arrangements .


                                             25
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                                         132 .

      On March, 7, 2006, Mr. Vodopia posted client's position and stipulated that

the applicant need to apply by June 1, 2006 .

                                         133 .

      During Plaintiffs short term disability, Mr . Vodopia voluntarily sent

Plaintiff job announcements from IBM and advised him to pursue them .

                                         134 .

      On March 22, 2006, Plaintiff informed Mr . Vodopia that he would likely

return to work on March 27, 2006 .

                                         135 .

      Beginning March 22, 2006, through March 23, 2006, MetLife bombarded

Plaintiff with calls from, at least, five different customer service representatives,

regarding Plaintiffs disability .

                                         136.

      MetLife manages IBM's long term disability program .

                                         137 .

      On March 23, 2006, Dr. Ajayi gave Plaintiff the green light to return to work

on March 27, 2006.




                                          26
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                                             138 .

          On March 24, 2006, Dr. Ajayi faxed the Medical Treatment Report (MTR)

and Psychiatric Impairment Report (PIR) to Defendant, Betty Johnson, Case

Manager, IBM Global Well-being and Health Services ."i

                                             139 .

          As a condition to his return, Dr . Ajayi recommended that Plaintiff work

from home, when possible.

                                             140.

          IBM rejected Dr . Ajayi's recommendation .

                                             141 .

          Upon his return to work on March 27, 2006, Plaintiff's position had not been

filled.

                                             142.

          After Plaintiff returned on March 2 7, 2006, Mr . Vodopia's hostility towards

him escalated .

                                             143 .

          As a result, Mr . Vodopia began to retaliate against Plaintiff as follows :

          a . Mr. Vodopia moved Plaintiff out of his assigned office ;



       " The MTR summarizes the doctor's diagnosis, treatment and recommendation The PIR
analyzes the patient's psychological well-being .


                                              27
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         b. Put Plaintiff in a dark room where the ports were not working ;

         c . Removed Plaintiff from the BOA Account ;

         d. Assigned Plaintiff mundane tasks, such as manually inputting cells

               and printing order letters, a task that student workers usually perform .

         e. Assigned Plaintiff unattainable goals, i .e ., obtain IGF pricing models

with knowledge that they were inoperative .

                                           144.

         During a conversation with Mr . Vodopia on March 27, ?006, Plaintiff asked

Mr. Vodopia when he would get an opportunity to complete his attainment for his

2005 PBC goals .

                                           145 .

         Mr. Vodopia informed Plaintiff that he would give him until March 28, 2006

to submit his PBC attainment results .

                                           146 .

         On March 29, 2006, Plaintiff submitted his attainment for the 2005 PBC

goals.

                                           147.

         On the same day, Mr. Vodopia announced, in the presence of Tasha

Galloway, Black female, that Mr . Baldwin was not accepting Plaintiff's Financial

Analyst position .


                                            28
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                                         148 .

      Ms . Galloway started working for Mr . Vodopia as a Financial Analyst in

January 2006 .

                                         149 .

      On October 31, 2005, Mr. Vododpia had approached Ms . Galloway and

asked her if she would work for him .

                                         150.

      Ms. Galloway had previously worked for Mr . Vodopia.

                                         151 .

      Ms. Galloway thought it was odd that Mr . Vodopia would ask her to work

for him because she was aware that her work performance did not meet the job

requirement.

                                         152.

      As well, Mr. Vodopia was aware that Ms . Galloway's work performance did

not meet the job requirement .

                                         153 .

      Nevertheless, Ms . Galloway accepted the offer .

                                         154.

      However, on March 6, 2006, when Mr . Vodopia interviewed Mr . Baldwin,

he failed to introduce him to Ms . Gallaway .


                                          29



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                                        155 .

      In fact, Mr . Vodopia failed to inform Plaintiff that he would interview Mr .

Baldwin for his position .

                                        156 .

      On March 30, 2006, Plaintiff had a conference with Ms . Parke and again,

complained about the on-going harassment and retaliation by Mr . Vodopia .

                                        157 .

      Ms. Parke told Plaintiff to work from home until further notice .

                                        158.

      On March 31, 2006, Ms . Parke called Plaintiff and informed him that she

handed his concerns over to HR and someone from FIR would call him .

                                        159 .

      On the same day Ms . Johnson and an IBM doctor, unknown to Plaintiff,

contacted Dr . Ajayi .

                                        1 60.

      The unidentified doctor advised Dr . Ajayi to re-evaulate Plaintiff, based on

complaints from several managers that Plaintiff exhibited hostile behavior .

                                        lbl .

       Ms. Burack and HR failed to respond to and address Plaintiffs previous

Complaints .


                                         30
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                                             1 62 .

       On April 3, 2006, Plaintiff filed Retaliation Charges with EEOC .

                                             163 .

       On April 18, 2006, Ms . Parke sent Mr . Vodopia a note instructing him to

schedule Plaintiffs 2005 PBC meeting .

                                             164.

       On the same day, Mr . Vodopia scheduled PBC meeting for April 21, 2006 .

                                             165 .

       On April 20, 2006, Mr . Vodopia cancelled the April 21 S` meeting .

                                             166 .

       Mr. Vodopia subsequently re-scheduled the meeting for May 4, 2006 .

                                             167 .

     On May 4, 2006, Mr. Vodopia reviewed Plaintiff's PBC results with him .

                                             168 .

       Ms . Parke was present at the review .

                                             169.

       On the same day, Mr . Vodopia gave Plaintiff a rating of 3 .12



       12 The manager reviews the employee's attainment goals and gives a rating . The
manager gives to the employee for feedback and a rebuttal . The rating and feedback goes to the
immediate manager's superior . The superior signs off on the manager's rating .



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                                           170 .

      Plaintiff should have received at least a 2 +.

                                           171 .

      Again, on the same day , Plaintiff made a written rebuttal and stated the

evaluation was written to make him a scapegoat .

                                           172 .

      On or about May 5, 2006, Mr . Vodopia sent the rating and feedback to his

superior, Ms . Parke as final reviewer .

                                           173 .

      On May 18, 2006, Ms . Parke signed off on Mr . Vodopia's rating, affirming

Mr. Vodopia's findings.

                                           174.

      Plaintiff received a low rating, despite the fact his previous assessments

were excellent.

                                           175 .

      In addition, between May 2005 and August 2005, Plaintiff received

numerous written accolades from customers, who expressed their appreciation for

his hard work on the BOA contract .




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                                              176.

                                                                 1
       It took Ms . Parke two (2) weeks to complete her review . 3

                                              177 .

       Mr. Vodopia continued to harass and retaliate against Plaintiff after his

rebuttal .

                                              178 .

       Mr. Vodopia's harassment and retaliation continues to date .

               (INTERNATIONAL BUSINESS MAC HINES)

                                      COUNT I
                       Race and Natio nal Origin Discrimi nation

                                              179.

        Plaintiff incorporates the allegations contained in paragraphs 1 through 178,

as if specifically plead herein .

                                              180.

        The actions and/or inactions of Defendant, IBM, and its agents, as

articulated in the allegations above, were based on Plaintiffs race, black and

national origin, Jamaican .




        "Such a review normally takes a couple of days .


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                                        181 .

       IBM's internal policies and practices have systematically had an adverse

impact on blacks, because of their race, resulting in unfair discipline and wrongful

termination .

                                   COUNT II
                    Hostile Work Environment and Harassment

                                        182 .

       Plaintiff incorporates the allegations contained in paragraphs I through 181,

as if specifically plead herein .

                                        183 .

       The actions and/or inactions of Defendant, ABM, and its agents, as

articulated in the allegations above, constituted a hostile environment and

harassment, in that the actions and/or inactions were so severe and pervasive that

they altered Plaintiffs working condition and employment, and created an abusive

work environment .

                                    COUNT III
                     Disparate Treatment Pursuant to Title VII

                                        184 .

       Plaintiff incorporates the allegations contained in paragraphs I through 183,

as if specifically plead herein .




                                         34
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                                             1 85 .

      The actions and/or inactions of Defendant, IBM, and its agents, as

articulated in the allegations above, constituted disparate treatment, in that

Defendant treated similarly situated (Caucasian) employees more favorable than

Plaintiff because of his race and national origin .

                                     COUNT IV
                        Failure to Hire Pursuant To Title VII

                                             186.

      Plaintiff incorporates the allegations contained in paragraphs 1 through 185,

as if specifically plead herein .

                                             187 .

       The actions or inaction of Defendant, IBM, and its agents, as articulated in

the allegations above, constituted a failure to hire Plaintiff for the ASR position, in

that Plaintiff was qualified for the position and rejected because of his race, and

national origin, and was in retaliation of the complaints Plaintiff made against Mr .

Vodopia .

                                          COUNT V
                                   Title VII and Retaliation

                                             188.

      Plaintiff incorporates the allegations contained in paragraphs 1 through 187,

as if specifically pled herein .


                                              35
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                                           189 .

      The actions and/or inactions of Defendant, IBM, and its agents, as

articulated in the allegations above, constituted Retaliation, in that Defendant took

adverse action against Plaintiff because he engaged in statutorily protected conduct

and expression .

                                           190.

      All actions of Defendant, IBM, as complained of above, and other

discriminatory actions not referenced herein, were on account of Plaintiff's race

and national origin, and in retaliation of the complaints Plaintiff made .

                                           191 .

      IBM was made aware of Plaintiff's complaints and the discriminatory and

retaliatory activities of its agents and failed to address them .

                                           192.

      The actions of Defendant, IBM, was willful, wanton, intentional and in

reckless disregard of Plaintiffs federally protected rights .

                                           193 .

      Plaintiff has been harmed and has suffered as a result of the conduct of the

Defendant, and Plaintiff is entitled to damages under the provisions of and in

accordance with Title VII including compensatory damages, back pay, front pay,

punitive damages and cost of litigation, all to be determined at trial .


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                                 (ALL DEFENDNTS)

                                     COUNT V
                                   42 U.S.C. X1981

                                        194 .

       Plaintiff incorporates the allegations contained in paragraphs 1 through 193

as specifically plead herein .

                                        195 .

       Defendants, by their conduct, actions and/or inactions, have violated

Plaintiffs Fourteenth Amendment right of equal protection and equal right to

contract.

                                        196 .

       As a result of Defendants' conduct, actions and/or inactions, Plaintiff has

suffered humiliation and embarrassment constituting mental anguish and suffering,

and Plaintiff is entitled to an award of damages to be determined by a fair and

impartial jury .

                                        197 .

       As a result of Defendants' conduct, actions, and/or inactions, Plaintiff is

entitled to punitive damages as allowed under the law.




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                                   COUNT VI
                   Intentional Infliction of Emotional Distress

                                          198 .

      Plaintiff incorporates the allegations contained in paragraphs 1 through 197 .

                                          199 .

      Defendants' conduct, actions, and/or inactions, were extreme, outrageous

and insulting, so as to naturally cause pain and suffering, humiliation and

embarrassment on the part of Plaintiff, such that Plaintiff is entitled to recover

damages for emotional distress caused by Defendants' conduct .

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff prays that this Court allows this case to go forward,

that a jury be empanelled, and that Plaintiff recover :

(a) Actual and consequential damages as proven ;

(b) Compensatory damages ;

(c) Punitive damages payable to Plaintiff as allowed by law and as decided by a

fair and impartial jury so as to punish Defendants and to deter future

discriminatory and unlawful conduct ;

(d) Prejudgment interest on back pay ;

(e)   All relief to which Plaintiff is entitled under Title VII and § 1981 ;

(f)   All relief to which Plaintiff is entitled under state law claims ;



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(g) Costs of litigation and attorneys fees ;

(h)   A]] other relief to which Plaintiff is entitled under the law .

                                   JUR Y DEMAND

      Plaintiff requests trial by jury of all issues in this action .

      Respectfully submitted this 23`d day of October, 2006.




                                          Lucinda
                                                    3ar No . 402509
                                                    for Plaint i ff

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770-920-4744
perrylucinda@yahoo.com




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  E EOC Form 761-8 (3198)                             U . .j, EQUAL EMPLOYMENT OPPORTUNITY CUmMISSION

                                                   NOTICE OF RIGHT TO SUE (I SSUED ON REQUEST)
 To       Richard V . Harrison                                                                                        From        At l a nta Distra c t Office - 4 10
          2707 Forkview Place                                                                                                     100 Alabam a S tree t, S . W
          Douglasville, GA 30135                                                                                                  Suite 4R3 0
                                                                                                                                  Atlan ta , GA 3 0 3 0 3



                     On beh alf of person(s) aggrre ved whose identity is
                     CONFIDENTIAL (29 CFR §16 0 1 7(a))

 EEOC           Charge               No      EEOC           Representative                                                                                    Teleph one No

                                                                         Lucille Greece ,
 410-200 6-01197                                           Investigator                                                           (404)                      562 -6869
                                                                                                                 (See also the additional information enclosed with this foirn
NOTICE TO THE P ERSON A GG R IEVED :

Title VII of th e Civil R i ghts Ac t o f 1964 and/or the Ameri cans with D is ab il ities Act (ADA) : This is your N otice of Right to Sue, issued
under Title VII andlor the ADA based on the above-numbered charge It has been issu-d at your request Your lawsuit Linder Title V!, or
the ADA m us t be filed i n a tederal o r state court WITH I N 90 DAYS of your rec ei pt of this notice ; or your right to sue based on this
charge will be lost (The time limit for filing suit based on a state claim may be different)

                     More than 180 days have passed since the filing of this charge

       a             Less than 180 days have passed since the filing of this charge, but I have determined that it is unlikely that the EEOC will
                     be able to complete its administrative processing within 180 days from the filing of this charge

       0             The EEOC is terminating its processing of this charge

                     The EEO C vvill continue to process this charge

Age Discriminat i on in Employm ent Act (ADEA) : Y ou may s u e u nder th e ADEA at any time from 60 days after the charge was filed until
90 d a y s after you receive not ice that w e have compl ete d actio n on the charge In thi s regard, the paragraph marked below applies to
your case :
                    Th e EEOC is cl osin g your case There fore , your l aws u it und er the ADEA must be filed in federal or state court WITHIN
                    90 DAYS of your recei pt of th i s Notice . Otherwise, your ri ght to sue based on the above-numbered c h arge wil l be lost .

                    The E EOC is continuing its handling of your ADEA case However, if 60 days have passed since the filing of the charge,
                    you may file suit in federal or state court under the ADEA at this time

Equal Pay Act (EPA) : Y ou alre a dy have the right to s ue under the EPA (filing an EE OC charge i s not raga}rerJ ) EPA sui ts must be bro ugh t
in federa l or state co urt within 2 years (3 years for willful vio lations) of the all eged EPA un d erpayment Thi s m ean s tha t backpay due for
any violations that occurred more than 2 years (3 years) before you file suit may not be collectible .

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                                                                                                On behalf of the Commission

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                                                                                           /S.'&                                                                JUI.18 20p6
 Enclosures(s)                                                  ~                 Bernice Will iarns- Kim ough,                                                     (Date Mailed)
                                                                                            Director

 cc IBM Corporation
        Attn : Wendy C . Wang, Attorney
        IBM Legal Department
        Southern & Southwestern Regions
        1507 LBJ Freeway
        Dallas, Texas 75234
